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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 08-80736-CIV-MARRA

   JANE DOE No. 1 and JANE DOE No. 2,

                  Petitioners,

   vs.

   UNITED STATES,

               Respondent.
   ______________________________________/

             UNITED STATES’ RESPONSE TO JANE DOE #1 AND JANE DOE #2’S
                     SUPPLEMENTAL REQUEST FOR PRODUCTION

          Respondent United States of America, by and through its undersigned counsel, responds

   to petitioners’ Supplemental Request for Production to the Government Regarding Co-

   Conspirator Immunity Provision and Related Subjects, and states:

   Supplemental Discovery Request 1

          (a) The September 3, 2008 Notification of Identified Victim, addressed to Jane Doe No.

   3, is attached. Bates number 000911-000913, and 000918-000921.

          (b) No crime victim notifications were sent to Jane Doe No. 4 because the respondent

   was not aware of her existence until it received the August 20, 2014 letter from petitioners’

   counsel, Brad Edwards.

          (c) See Bates numbers 000670-000965, and 000966-000979. Also, the USAO-SDFL

   has thirty (30) draft letters, prepared on or about December 7, 2007, which are being withheld

   pursuant to the deliberative process privilege.

          (d) See Bates numbers 000816 – 000944.




                                                                                      Respondent's Exhibit A
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   Supplemental Discovery Request 2

          See RFP MIA 000053-000132; 000133-000208; and 000209-000281.

   Supplemental Discovery Request 3

          Respondent objects to this request because it seeks documents pertaining to Jane Doe No.

   3’s claims of sexual abuse by Alan Dershowitz. On April 7, 2015, the Court denied petitioners’

   motion to add Jane Doe No. 3 and Jane Doe No. 4 as petitioners in this case. D.E. 324. The

   Court specifically found that “these lurid details are unnecessary to the determination of whether

   Jane Doe 3 and Jane Doe 4 should be permitted to join Petitioners’ claim that the Government

   violated their rights under the CVRA. The factual details regarding with whom and where the

   Jane Does engaged in sexual activities are immaterial and impertinent to this central claim (i.e.,

   that they were known victims of Mr. Epstein and the Government owed them CVRA duties),

   especially considering that these details involve non-parties who are not related to the respondent

   Government. These unnecessary details shall be stricken.” D.E. 324 at 5 (emphasis in original).

          Fed.R.Civ.P. 26(b)(1) provides, in pertinent part, that “[p]arties may obtain discovery

   regarding any non-privileged matter that is relevant to any party’s claim or defense – including

   the existence, description, nature, custody, condition, and location of any documents or other

   tangible things and the identity and location of persons who know of any discoverable matter.”

   Thus, any documents sought in petitioners’ Rule 34(a) request for production must be relevant to

   a claim or defense of Jane Doe No. 1, Jane Doe No. 2, or the Government, but not Jane Doe No.

   3. The documents sought by petitioners are not relevant to their claim that the government

   violated the CVRA. Whether the government developed any information regarding the sexual

   abuse of Jane Doe No. 3 by someone other than Mr. Epstein is irrelevant for the purposes of this

   CVRA lawsuit.



                                                    2

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   Supplemental Discovery Request No. 4.

          Respondent objects to this request because it seeks information pertaining to the FBI’s

   interview of Jane Doe No. 3 in 2011, four years after the non-prosecution agreement was

   executed, and three years after this CVRA lawsuit was commenced. Petitioners, Jane Doe No. 1

   and Jane Doe No. 3, have no right to examine the unredacted FBI 302 of Jane Doe No. 3, or any

   of the documents, photographs, or other items that may have been shown to Jane Doe No. 3

   during the FBI interview. Further, what occurred during the FBI interview of a non-party, Jane

   Doe No. 3, has no relevance to the CVRA litigation. This request does not seek documents or

   objects relevant to any claim or defense of Jane Doe No. 1, Jane Doe No. 2, or the government.

   Supplemental Discovery Request No. 5.

          Respondent objects to this request because it seeks video surveillance of Jane Doe No. 3,

   a non-party. Jane Doe No. 3’s quest to “know all of the crimes to which [she] was a victim,” is

   not relevant to any claim or defense of petitioners or the Government. Notwithstanding this

   objection, respondent has no surveillance videos of Jane Doe No. 1, 2, 3, or 4.

   Supplemental Discovery Request No. 6.

          Respondent objects to this request because it seeks information pertaining to Jane Doe

   No. 3’s claims of sexual abuse by persons other than Jeffrey Epstein. These allegations have

   already been stricken by the Court. Whether Jane Doe No. 3 was or was not sexually abused by

   persons other than Jeffrey Epstein is not relevant to any claim or defense of the petitioners or the

   government.

   Supplemental Discovery Request No. 7.

          Respondent has no documents responsive to this request.




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                                                Respectfully submitted,

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                                                Attorneys for United States

                                   CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing United States’ Response to

   Jane Doe #1 and Jane Doe #2’s Supplemental Request for Production was served via electronic

   mail on this 17th day of June, 2015, on the parties and counsel appearing on the attached service

   list.


                                                       /s Dexter A. Lee
                                                       Assistant United States Attorney



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                                          SERVICE LIST

                                Jane Does 1 and 2 v. United States,
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                      United States District Court, Southern District of Florida

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